UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                     6/21/22

  United States of America,

                 –v–
                                                                      20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                           ORDER
                         Defendant.


ALISON J. NATHAN, Circuit Judge, sitting by designation:

       The Court is in receipt of a letter submitted by an attorney for two individuals seeking to

speak as victims at sentencing. The Defendant submitted a letter in response. No party

requested redactions or sealing of the letters. The Court will docket the letters.

       Any victim seeking to make a statement at sentencing shall contact the Victim Witness

Unit of the United States Attorney’s Office:

               Wendy Olson, Coordinator Victim Witness Unit
               United States Attorney’s Office
               (212) 637-1028
               Wendy.Olson@usdoj.gov

       A victim seeking to make a statement must submit a written statement by email to the

Victim Witness Unit by noon on Thursday, June 23, 2022. In addition to submitting the

written statement, the submission must note whether the victim seeks to make an oral statement

at sentencing and provide a basis for entitlement to make a statement under the Crime Victims’

Rights Act, 18 U.S.C. § 3771. Statements that do not conform to this process will not be

permitted.

       The Government is ORDERED to inform the Defendant of any anticipated victim impact

statements by 2:00 p.m. on Thursday, June 23, 2022. If either party objects to any statement,


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the objection and statement being objected to must be filed with the Court by 2:00 p.m. on

Friday, June 24, 2022. Any statements to which the parties do not object must be submitted to

the Court by 5:00 p.m. on that same date.

       The Government is FURTHER ORDERED to confirm with the Court by noon

tomorrow, June 22, 2022, that victims have been notified of the rights described in the CVRA,

consistent with 18 U.S.C. § 3771(c)(1).

       SO ORDERED.



 Dated: June 21, 2022
        New York, New York                      ____________________________________
                                                          ALISON J. NATHAN
                                                        United States Circuit Judge
                                                          Sitting by Designation




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